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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In rec Chapter 11

PERNIX SLEEP, INC., et al.,1 Case No. 19-10323 (CSS)
Jointly Administered

Debtors.

 

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STIPULATION BETWEEN DEBTORS AND
OFFICIAL COMMITTEE OF UNSECURED CREDITORS
WITH RESPECT TO PROFFERED TESTIMONY OF KENNETH PINA

WHEREAS, this Court held a hearing (the “Hir_in_g”) concerning the Amended
Notice of Agenda of Matters Scheduled for Hearing on March 22, 2019; and

WHEREAS, during the Hearing counsel for the Debtors set forth on the record
statements that counsel indicated Kenneth Pina “Would testify” to “if he Were called to testify”
(Tr. ofHearing 17:18 ~ 23) (the “B;Q_f_fe_r”),

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,
as follows:

1. The Ofticial Comrnittee of Unsecured Creditors of the Debtors does not concede

that the Proffer, or any part of it, is binding or admissible against any party in any future

proceeding

 

1 The Debtors in these cases, along With the last four digits of each Debtor‘s federal tax identification

number, where applicable, are: Pernix Therapeutics Holdings, Inc. (4736), Pernix Therapeutics, LLC (1128), Pernix
Manufacturing, LLC (1236), Pernix Sleep, lnc. (1599), Cypress Pharrnaceuticals, lnc. (1860), Hawthorn
Pharmaceuticals, lnc. (2769), Macoven Pharmaceuticals, LLC (4549), Gaine, lnc. (3864), Respicopea, Inc. (1303),
Pemix Ireland Lirnited (3106PH), Pernix Ireland Pain Designated Activity Company (0190LH), Pernix Holdco 7,
LLC (N/A), Pernix Holdco 2, LLC (N/A), Pernix Holdco 3, LLC (N/A). The Debtors’ corporate headquarters and
the mailing address is 10 North Park Place, Suite 201, Morristown, NJ 07960.

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2. To the extent l\/Ir. Pina Would have testified to any of the statements appearing in
the transcript of the Hearing at 19:12-13; 20:3-7; 21:11-23, he Would have done So only in his
personal capacity, and not in his capacity as an employee, officer or agent of any of the Debtors.

Dated: April 15, 2019
Wilmington, DelaWare

 

 

 

PGTTER ANDERSON & CORROON LLP LANDIS RATH & COBB LLP
/s/R. S_t_ez)hen McNez'll /s/ Kerri K. Mumford
Jeremy W. Ryan (DE No. 4057) Adam G. Landis (No. 3407)
R. Stephen McNeill (DE No. 5210) Kerri K. Mumford (No. 4186)
1313 N. Marl<et St., Sixth Floor Jennifer L. Cree (No. 5919)
P.O. BoX 951 919 Market Street, Suite 1800
Wilmington, DE 19801 Wilmington, DelaWare 19801
Telephone: (302) 984-6000 Telephone: (302) 467-4400
Facsimile: (302) 65 8-1 192 Facsimile: (302) 467-4450
Email: jryan@potteranderson.com Email: landis@lrclaw.com
rmcneill@potteranderson.com mumford@lrclaw.com

cree@lrclaw.com

-and- -and~

AKIN GUMP STRAUSS HAUER & FELD LLP DAVIS POLK & WARDWELL LLP

Arik Preis (admitted pro hac vice) Elliot Moskowitz (admitted pro hac vice)

Gary A. Ritacco (admitted pro hac vice) Eli J. Vonnegut (admitted pro hac vice)

Rachelle L.T. Rubin (admitted pro hac vice) Christopher S. Robertson (admitted pro hac vice)

One Bryant Park 450 Lexington Avenue

Bank of America ToWer New York, NeW York 10017

New York, NY 10036 Telephone: (212) 450-4000

Telephone: (212) 872-1000 Facsimile: (212) 701-5800

Facsimile: (212) 872-1002 Email: elliot.moskowitz@davispolk.com

Email: apreis@akingump.com eli.vonnegut@davispolk.com
gritacco@akingump.com christopher.robertson@davispolk.com

rlrubin@al<ingump.com
Counsel to the Debtors and
Counsel to the Commz'ttee Debtors-In-Possession

SO ORDERED, , 2019
Wilmington, DelaWare

 

The Honorable Christopher S. Sontchi
Chief United States`.Bankruptcy lodge , _ . s s

